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UNITED STATES DISTRICT COURT Fll»_§";l:l '?'?)"r’
WESTERN DISTRICT OF TENNESSEE
Western Division 05 JUl,_ lB Fl"'l li- 29

UNITED STATES OF AMERICA

         
 

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-vs- Cdr§@ l"\ll). 2:
CALVIN MONROE

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d§ci20239-B

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

~ The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal jr 14
I)ONE and ORDERED in 167 North Main, Memphis, this / day ofJuly, 2005,

a@t/u/.lu, K Wy/w/w

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished t0:

United States Attomey

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20239 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

PDA

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U.S. ATTORNEY'S OFFICE
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Honorable J. Breen
US DISTRICT COURT

